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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------X
                                                      :
 UNITED STATES OF AMERICA,                            :
                                                      :   19 Cr 286 (AMD)
                                                      :
 -vs-                                                 :
                                                      :
                                                      :
 ROBERT SYLVESTER KELLY,                              :
          also known as “R. Kelly,”                   :
                                                      :
                            Defendant.                :
 -----------------------------------------------------X

       DEFENDANT ROBERT KELLY’S SENTENCING MEMORANDUM: PART I




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                                          INTRODUCTION

        Defendant files this preliminary sentencing memorandum in support of his contention

 that the guidelines range for his convictions is 168-210 months. Defendant further contends that

 upon consideration of the factors set forth in 18 U.S.C. § 3553(a), this Court should sentence

 Defendant to a below guidelines sentence. Consistent with this Court’s Order, Defendant intends

 to submit a supplemental sentencing memorandum on June 13, 2022, that addresses the §

 3553(a) factors with supporting mitigation that sheds light on the history and characteristics of

 the Defendant.

                                             ARGUMENT

        “[A] district court should begin all sentencing proceedings by correctly calculating the

 applicable Guidelines range,” which “should be the starting point and the initial benchmark.”

 Gall v. United States, 552 U.S. 38, 49 (2007). After a proper calculation, a sentencing judge

 considers the seven factors set forth in 18 U.S.C. § 3553(a): “the nature and circumstances of the

 offense and the history and characteristics of the defendant;” the four legitimate purposes of

 sentencing, as set forth below; “the kinds of sentences available;” the applicable Guidelines

 range itself; and relevant policy statement by the Sentencing Commission; “the need to avoid

 unwarranted sentence disparities among defendants;” and “the need to provide restitution to any

 victims.” 18 U.S.C. § 3553 (a)(1)-(7); see also, Gall, 552 U.S. at 50, n.6.

        In determining the appropriate sentence, the statute directs judges to “impose a sentence

 sufficient, but not greater than necessary, to comply with the purposes” of sentencing, which are:

        (A)       to reflect the seriousness of the offense, to promote respect for the law, and to

 provide just punishment for the offense;

        (B)       to afford adequate deterrence to criminal conduct;
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        (C)        to protect the public from further crimes of the defendant; and

        (D)        to provide the defendant with needed educational or vocational training, medical

 care, or other correctional treatment in the most effective manner. 18 U.S.C. § 3553 (a)(2).

 The Guidelines Sentence In this Case Is 168-210 Months.

        The government and probation argue that the Defendant’s guidelines range is life

 although they take different routes to arriving at that conclusion. As set forth in detail below,

 many of the enhancements suggested by the government and probation are simply unsupported

 by the evidence and the law. Defendant argues that the range is 168-210 months.

        Probation sets forth a comprehensive summary of the charges, convictions, and evidence

 presented in this case. Defendant has already lodged objections in response to the presentence

 investigation report, including objections to some of probation’s statements about the

 government’s evidence. Defendant will highlight the trial record in this case as necessary below.

        Defendant was convicted one count of RICO based on conduct alleged to have occurred

 between 1994 and 2018. The base offense level of a racketeering offense is the greater of 19 or

 the offense level applicable to the underlying racketeering activity. U.S.S.G § 2E1.1. Application

 Note of the Commentary Guideline 2E1.1 instructs that, “where there is more than one

 underlying offense, treat underlying offense as if contained in a separate count of conviction for

 the purposes of subsection (a)(2).” Defendant calculates the offense levels for each racketeering

 act as follows:

 A.     Racketeering Act One: Bribery

        Base Offense Level                                                             12

        Adjusted Offense Level                                                         12
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        The government and probations contend that a two-level enhancement is justified on the

 basis that Defendant used a person less than 18 years of age to commit the offense. As argued in

 Defendant’s Rule 29 motion, the government’s evidence failed to show that Defendant knew that

 Demetrius Smith paid money to influence a public aid officer to produce an identification card

 for Jane Doe No. 1 (Aaliyah). The record is also devoid of any evidence that Defendant used

 Aaliyah in connection with the bribery. Of course, the bribery committed by Smith produced a

 fraudulent public aid card for Aaliyah. But it does not follow that Defendant used Aaliyah in the

 bribery. Accordingly, Defendant objects to a two-level enhancement pursuant to U.S.S.G.

 §3B1.1(a)

 B.     Racketeering Act Two: Sexual Exploitation (Stephanie)

        Base Offense Level                                                           32

        Adjusted Offense Level                                                       32

        The government and probation argue that a two-level enhancement is appropriate

 pursuant to U.S.S.G § 2G2.1(b)(2)(A) on the grounds that the “offense involved the commission

 of a sexual act.” Defendant was found guilty of sexual exploitation based on Stephanie’s

 testimony that Defendant recorded a sexual act with her when she was 17 years old in violation

 of 18 U.S.C. § 2251(a). The government contends that because “sexually explicit conduct,” an

 element of a §2251(a) violation, does not necessarily involve a sexual act, Defendant is subject

 to a two-level enhancement pursuant to U.S.S.G. § 2G2.1(b)(2)(A) because he engaged in a

 sexual act with Stephanie. Defendant disagrees.

        Enhancing Defendant’s sentencing based on facts that formed the basis of the offense

 amounts to impermissible double counting. “Impermissible double counting occurs when one

 part of the Guidelines is applied to increase the defendant’s sentence to reflect the kind of harm
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 that has already been fully accounted for by another part of the Guidelines.” United States v.

 Watkins, 667 F. 3d 254, 261 (2d Cir. 2012). The only conduct proven by the government that

 qualified as “sexually explicit conduct” was the sexual act. Even if the government could have

 theoretically proved sexual exploitation without evidence of sexual act, it does not follow that

 the government can enhance the penalty based on conduct that was already accounted for in the

 base offense level. Accordingly, a two-level enhancement is unwarranted.

 C.     Racketeering Acts Three and Four: Kidnapping and Mann Act Violations: (Sonya)

        Defendant was acquitted of racketeering acts three and four related to Jane Doe No. 3.

 The government contends that because it could prove these racketeering acts by the lower

 preponderance of the evidence, they could be taken into consideration pursuant to United States

 v. Ruggiero, 100 F. 3d 284 (2d Cir. 1996). Defendant contends that where the jury clearly found

 that Sonya’s testimony was not credible, this Court should not consider racketeering acts three

 and four in calculating the guidelines range. Despite the government’s contention, it does not ask

 this Court to consider these acts in calculating a guidelines range.

 D.     Racketeering Act Five: Mann Act Violation (Jerhonda)

        Base Offense Level                                                           24

        Adjusted Offense Level                                                       24

        The government urges a two-point enhancement pursuant to U.S.S.G. § 2G1.3(b)(2)

 because the offense involved “undue influence” toward the minor to engage in prohibited sexual

 conduct. “Undue Influence” is defined in the Guidelines as activity that “compromise[s] the

 voluntariness of the minor’s behavior[.]” Id. at cmt. n.3(B). “[T]he defining characteristic of

 undue influence is that it involves a situation where the influencer has succeeded in altering the

 behavior of the target.” United States v. Patterson, 576 F. 3d 431, 443 (7th Cir. 2009). The
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 government contends that a rebuttable presumption of undue influence exists because Defendant

 was greater than 10 years older than 16-year-old Jerhonda when they engaged in sexual activity

 between May 2009 and January 2010.

        Contrary to the government’s contention, Defendant rebuts the presumption of “undue

 influence.” The trial record refutes any suggestion that Defendant did anything in altering the

 behavior of Jerhonda. Quite the opposite. Jerhonda, a sophisticated 16-year-old, took great pains

 to get close to Defendant, including by misrepresenting her age. Defendant did nothing to seek

 out Jerhonda. In contrast, Jerhonda forged a relationship with people in Defendant’s orbit, falsely

 claiming to be 19 years of age, all to get access to the Defendant. Jerhonda admits that she

 falsely told Defendant that she was 19 years of age when they engaged in sexual conduct. It is

 true that Jerhonda claims that she promptly confessed her real age of 16 to the Defendant

 immediately after their first sexual encounter; however, even if this is true, Jerhonda’s testimony

 does not reveal that Defendant used any influence, undue or otherwise, to engage in sexual

 activity with her. Defendant has been sufficiently punished for this offense and a two-level

 enhancement for “undue influence” is simply not justified on the facts of this case.

        Similarly, a two-point enhancement is entirely unjustified pursuant to U.S.S.G. §

 2G3.1(b)(3) where the record is devoid of evidence that the offense involved the use of a

 computer or cell phone to induce the travel of the minor. The government points this court to

 phone logs, random photos, and a single text allegedly from Defendant, stating “Please Call,” as

 evidence of use of a cell phone to induce travel. This evidence fails to show that Defendant

 induced Jerhonda to travel to her home.

        The record shows that Jerhonda traveled to Defendant’s home with no invitation and at

 her own volition. Indeed, the evidence showed that Jerhonda snuck into Defendant’s home when
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 Defendant was not even in town; Defendant did not “induce” Jerhonda to travel to his house.

 Furthermore, no records exist to establish the nature of any communications. Indeed, Jerhonda’s

 testimony does not support the government’s argument that she was ever induced to travel to his

 house by cell phone communications or any manner.

        An invitation does not equal inducement. The Second Circuit has made clear that the

 terms “persuade, induce, entice [and] coerce” are words of common usage that have plan

 ordinary meanings.” United States v. Waqar, 997 F. 3d 481, 483 (2d Cir. 2021); United States v.

 Gagliardi, 506 F. 3d 140,147 (2d Cir. 2007). The Court distinguishes this conduct from merely

 asking which is not sufficient to demonstrate criminality. Id. (recognizing that “there might be

 some uncertainty as to the precise demarcation between “persuading,” which is criminalized, and

 “asking,” which is not.”) The government’s evidence fails to show any specific words of

 persuasion that Defendant used in connection with Jerhonda. Thus, even if the government could

 argue that Defendant asked or invited her to come to his home and told her that someone would

 pick her up at the train station – that conduct is not inducement. Thus, a two-level enhancement

 is not supported by this record.

        Last, a two-point enhancement is unwarranted pursuant to U.S.S.G. §2G3.1(b)(4). The

 government continues to argue that because a violation of 18 U.S.C. §2422 does not necessitate

 “illegal sexual activity,” an enhancement for sexual contact does not amount to duplicative

 punishment. The government’s argument is flawed where racketeering act five is premised on a

 criminal sex act, namely aggravated criminal sexual abuse under the Illinois criminal code. In

 short, to prove racketeering act five as charged, the government was required to prove a sex act.

 Thus, any enhancement based on a “sex act” is duplicative to the charged offense and the

 enhancement amounts to double counting.
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 E.     Racketeering Act Six: Forced Labor - (Jerhonda)

        Base Offense Level                                                            30

        U.S.S.G. § 2H4.1(b)(4)(b)                                                     2

        Adjusted Level Offense                                                        32

        As the government pointed out, probation’s calculation of the adjusted offense level for

 this count is erroneous where the count did not include the production of child pornography.

 Although Defendant agrees with the government that the base offense level is 30, he objects to a

 four-level enhancement pursuant to § 2A3.1(b)(1), because the government’s evidence did not

 establish, under any standard of proof, that the forced labor count involves conduct described in

 18 U.S.C. § 2241(a) or (b).

        As argued extensively in Defendant’s Rule 29 motion, Jerhonda’s testimony described an

 assault unrelated to any sexual conduct. Jerhonda testified that Defendant slapped and choked

 her because she was on her phone, and he didn’t believe she was texting a friend. (R. 176)

 Jerhonda testified that after the assault, she gave Defendant oral sex because he “instructed” her

 to do so. Jerhonda’s testimony is devoid of any mention of threats of violence or acts of force in

 connection with the oral sex act. The previously described physical assault was completed and

 unrelated to his “instruction” that she give him oral sex. Jerhonda did not even testify that she

 feared Defendant when he asked for oral sex and she complied. Thus, the government’s claim

 that Defendant placed Jerhonda in fear of death or serious bodily injury is meritless.

 Accordingly, a four-level enhancement is unjustified on this record.

 F.     Racketeering Act Seven: Sexual Exploitation of a Child - (Jerhonda)

        Base Offense Level                                                            32

        Adjusted Offense Level                                                        32
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           The government agrees that there is no evidence that Defendant used force in connection

 with the production of any child pornography and that a four-level enhancement is inappropriate.

           Defendant objects to a two-point enhancement pursuant to U.S.S.G. § 2G3.1(b)(3) where

 the record is devoid of evidence that the offense involved the use of a computer or cell phone to

 induce Jerhonda’s travel.

 G.        Racketeering Act Eight: Mann Act Violation (Jane)

           Base Offense Level (§ 2G1.1(a)(2))                                          14

           Adjusted Offense Level                                                      14

           The government concedes that Jane misrepresented her age to Defendant when she met

 him in Florida in April 2015 which kicked off a lengthy relationship. Incredibly, the government

 seeks a four-level enhancement on this count, arguing that Defendant committed a fraud in

 connection with this Mann Act violation, because he did not disclose to Jane that he had genital

 herpes.

           The government seeks to stretch the guidelines beyond all recognition which explains its

 failure to offer any support for its novel theory that the failure to disclose a herpes diagnosis

 amounts to fraud either as defined by federal fraud statutes, state statutes, or under common law.

 According to the Second Circuit, fraud involves a false representation; scienter; reliance; and

 harm. Evans v. Ottimo, 469 F.3d 278, 283 (2nd Cir. 2006); United States v. Fusion Connect,

 Inc. (In re Fusion Connect, Inc.), 634 B.R. 22, 32 (S.D.N.Y. 2021) (citing the Restatement

 (Second) of Torts). While there have been a few variations on these elements, harm is always

 present. See Page v. Carozza (In re Carozza), 167 B.R. 331 (E.D.N.Y. 1994) (breaking scienter

 up into “reasonably calculated to deceive” and “intended to deceive”).
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         The government’s evidence does not show that Defendant falsely represented anything to

 Jane or that Jane relied on any misrepresentations. Also absent is any evidence of harm. Because

 there is no evidence that Jane was infected with herpes when she traveled to California with

 Defendant between April 28, 2015, and May 1, 2015, the government cannot show that any harm

 resulted from his failure to disclose his herpes diagnosis. Indeed, Jane testified that she did not

 contract herpes from Defendant during this trip. Thus, the government’s fraud theory is patently

 ridiculous. A four-level enhancement must be rejected under this theory.

 H.      Racketeering Act Nine: Mann Act Violation (Jane)

         Base Offense Level (§ 2G1.3)                                                  24

         Adjusted Offense Level                                                        24

         The government alleges that the base offense level for Racketeering Act Nine is 32

 pursuant to U.S.S.G. § 2G2.1 which involves sexual exploitation of a minor “by production of

 sexually explicit visual or printed material.” Racketeering Act Nine was a Mann Act violation

 and therefore the appropriate guidelines can be found at U.S.S.G. § 2G1.3(c)(1).

         Pursuant to U.S.S.G § 2G1.3(c)(1), the base offense level is 28 where the jury determined

 that Defendant was guilty of violating 18 U.S.C. § 2422(b). The government seeks to convert

 this offense into an offense for sexual exploitation of a child, arguing that the base offense level

 is 32. But the government fails to explain why this Court should not look to U.S.S.G §

 2G1.3(c)(1) as the starting point for correctly calculating the base offense level as to

 Racketeering Act Nine where Defendant was not convicted of sexual exploitation but rather a

 Mann Act violation. Notably, Defendant was separately charged and convicted of sexual

 exploitation of a child in connection with video recording sexual activities with Jane during their

 trip to California.
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        The government’s theory fails for other reasons. At the time Defendant purportedly

 committed Racketeering Act Nine, Jane was living with the Defendant and engaged in a legally

 consensual relationship in the state of Illinois. This is undisputed no matter how distasteful the

 government finds it. There is nothing in the record that suggests that Defendant brought Jane to

 California for the purpose of “producing a visual depiction” of their sexual activity. Notably, the

 government previously argued that Defendant’s purpose in bringing Jane to California was to

 expose her to herpes. The government seems to believe that Defendant’s purpose in bringing

 Jane to California is whatever they say it is depending on what elements it needs to prove. As

 Defendant argued in his Rule 29 motion, Defendant’s “motivating purpose” in bringing Jane to

 California was to have her companionship, even if included sexual contact. While Jane testified

 that her relationship with Defendant involved sex, that intimate relationship was legal in the

 State of Illinois. It is entirely illogical to suggest as the government does that Defendant had a

 purpose in bringing Jane to California to have sex with her where they shared a home in the state

 of Illinois where the age of consent was 17. Even if the government persuasively argued that

 Defendant’s purpose in bringing Jane to California was to have sex with her, it cannot be said

 that Defendant’s “motivating purpose” or any purpose was to produce video of that sexual

 activity. The government knows very well that Defendant’s travels with Jane had absolutely

 nothing to do with producing commercial child pornography. Any attempt to increase the offense

 level under this theory is legally wrong.

        The government agrees that an enhancement pursuant to U.S.S.G. § 2G2.1(b)(6)(B)(i) is

 inappropriate. Accordingly, the adjusted offense level for Racketeering Act Nine is 24.

 I.     Racketeering Act Ten: Mann Act Violation (Jane)

        Base Offense Level                                                             32
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        Adjusted Offense Level                                                        32

        Defendant objects to a two-point enhancement pursuant to U.S.S.G § 2G2.1(b)(2)(A) on

 the grounds that the “offense involved the commission of a sexual act.” Defendant was found

 guilty of sexual exploitation, in violation of 18 U.S.C. § 2251(a), based solely on Jane’s

 testimony that Defendant recorded their sexual activity in late 2015 when she was 17 (almost 18)

 years old. Notably, the sexual activity that occurred in the Northern District of Illinois was legal

 conduct, even if the recording of it was not. The government’s evidence turned entirely on Jane’s

 testimony as the government produced no video of Defendant and Jane engaging in sexual

 activity during this time-period.

        First, the government should not be permitted to enhance the sentencing guideline for this

 offense based on sexual contact that occurred in the Northern District of Illinois since that

 contact was not unlawful. The unlawful activity in the Northern District of Illinois was the

 filming of the contact – not the contact itself. Therefore, this enhancement could only be

 applicable for any sexual contact in the state of California. But again, as argued supra, because

 the sexual contact that occurred in California arguably forms the basis of the charged offense,1 it

 would be duplicative to enhance this offense based on “sexual contact.”

        Contrary to the government’s argument, simply because “sexually explicit conduct” does

 not require proof of a sex act for purposes of demonstrating a § 2251 violation, where the

 government’s proof of “sexually explicit conduct” is the sex act and nothing more, the

 government cannot enhance based entirely on a theoretical. Here, the element of “sexually

 explicit conduct” was allegedly proven by Jane’s testimony that Defendant produced a visual




 1
  The jury was not asked to determine whether racketeering act ten was based on conduct in
 California or Chicago or both.
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 depiction of their sex acts. That conduct formed the basis of the charged offense and should not

 also serve as a basis to enhance Defendant’s sentence notwithstanding that the government did

 not need to prove the sex act to establish a §2251 violation. Such an enhancement would

 constitute impermissible double punishment under the facts of this case.

        The government agrees that Defendant’s offense level should not be enhanced by four-

 levels for pursuant to U.S.S.G. § 2G2.1(b)(4).

        The government urges a two-level enhancement pursuant to U.S.S.G. § 2G2.1(b)(6),

 arguing that Defendant “stayed in touch” with Jane by cellphone “in order to induce her to travel

 to see him.” Defendant and Jane were in a relationship, lived together, and traveled together.

 Defendant did not use a cellphone for any purpose other than communicating with his girlfriend

 The government and the public may be outraged that Defendant entered into a relationship with

 Jane, who he believed to be 18, when he was in his 40s. The government and the public may be

 outraged that Defendant continued his relationship with Jane after learning that she lied to him

 about her age even though in the state of Illinois the relationship was lawful. But the government

 is clearly attempting to artificially enhance this sentence by ignoring the true nature of

 Defendant’s relationship with Jane. Put differently, if Defendant had not traveled with Jane to

 California on an isolated occasion a couple of months before Jane’s 18th birthday and had not

 video-recorded his sexual acts with Jane, there would have been no racketeering acts as to Jane

 whatsoever. The government is free to feel moral outrage about Defendant’s relationship with

 Jane, but it cannot enhance the sentence based on factors that ignores their own evidence. The

 government’s fiction that Defendant used cell phones to “persuade, induce, coerce, or facilitate”

 Jane’s travel should be rejected since it ignores the nature of their relationship entirely and the
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 base offense level already punishes Defendant for his conduct. Accordingly, a two-level

 enhancement pursuant to U.S.S.G. § 2G2.1(b)(6) must be rejected.

 J.     Racketeering Act Eleven: Forced Labor - (Jane)

        Base Offense Level                                                           22

        Adjusted Level Offense                                                       22

        The government now finds it convenient to change its theory of prosecution to suit its

 sentencing arguments. The forced labor offense involves a base offense level of 22. As the

 government concedes, the heart of its forced labor count is the allegation that Defendant obtained

 “labor” from Jane forcing or threatening force against her in connection with sexual activities

 with other women and men – none of which occurred when she was underage. As argued in

 Defendant’s Rule 29 motion, there simply is no evidence, even from Jane, that she was forced or

 threatened with physical harm to participate in group sex acts. Her belated claim that she did not

 want to participate in such activities does not demonstrate that Defendant forced her to engage in

 such activities through physical harm or threats of physical harm.

        That said, if this Court concludes that the evidence established that Jane’s participation in

 group sex acts amounted to an offense of criminal sexual abuse, the government’s calculation of

 an adjusted offense level of 36 would be accurate. But as stated above, the government did not

 establish that Defendant committed an offense of criminal sexual abuse in connection with

 Jane’s group sex acts with Defendant and others because the record is devoid of evidence of

 force in connection with those acts.

 K.     Racketeering Act Twelve: Mann Act Violation - (Faith)

        Base Offense Level                                                    14

        Adjusted Offense Level                                                14
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        Again, the government has no basis whatsoever to seek a four-level enhancement for

 fraud based on Defendant’s failure to disclose his herpes diagnosis to Faith. As argued

 previously, fraud involves a false representation; scienter; reliance; and harm. Evans v. Ottimo,

 469 F.3d 278, 283 (2nd Cir. 2006); United States v. Fusion Connect, Inc. (In re Fusion Connect,

 Inc.), 634 B.R. 22, 32 (S.D.N.Y. 2021) (citing the Restatement (Second) of Torts). While there

 have been a few variations on these elements, harm is always present. See Page v. Carozza (In re

 Carozza), 167 B.R. 331 (E.D.N.Y. 1994) (breaking scienter up into “reasonably calculated to

 deceive” and “intended to deceive”).

        The government’s evidence does not show that Defendant falsely represented anything to

 Faith or that Faith relied on any misrepresentation. Most importantly, there is no evidence of

 harm since Faith did not contract herpes from the Defendant. Faith testified that after traveling to

 New York, she was diagnosed with herpes type 1 after getting cold sores on her mouth. (R.

 2279-2280). Nearly 50% of the population has herpes type one (cold sores). Even the

 government’s expert would concede that herpes type 1 can be contracted from kissing. The

 record is devoid of evidence that Faith suffered any harm in connection with Defendant’s

 purported failure to disclose his herpes diagnosis to here. As such, a four-level enhancement

 under a fraud theory is non-sensical.

 L.     Racketeering Act Thirteen: Forced Labor - (Faith)

        Base Offense Level                                                            22

        Adjusted Level Offense                                                        22

        The forced labor offense involves a base offense level of 22. As argued in Defendant’s

 Rule 29 motion, there simply is no evidence, even from Faith, that she was forced or threatened

 with physical harm to provide oral sex to the Defendant. Faith describes an episode in Los
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 Angeles where Defendant allegedly had a “serious” conversation with her and then directed her

 to give him oral sex. She does not describe Defendant using any force or threatening any force.

 As a reminder, Faith never alleged that she was a victim forced to engage in any sexual contact

 and denied that characterization of her relationship with Defendant. As such, Defendant objects

 to the government’s contention that this conduct involved criminal sexual abuse and that a base

 offense level of 30 is appropriate pursuant to U.S.S.G. § 2A3.1.

        That said, if this Court concludes that the evidence established an offense of criminal

 sexual abuse, the government’s calculation would be correct.

 M.     Racketeering Act Fourteen: Mann Act Violation - (Faith)

        Base Offense Level                                                   14

        Adjusted Offense Level                                               14

        For the reasons argued in connection with racketeering act twelve, no four-level

 enhancement is justified under the government’s novel fraud theory.

 N.     Role Enhancement

        The government seeks a four-level enhancement pursuant to U.S.S.G. § 3B1.1(a) on the

 basis that defendant was “an organizer or leader of a criminal activity that involved five or more

 participants or was otherwise extensive . . .” Defendant has argued extensively that the

 government failed to show the existence of an enterprise. The government’s evidence showed

 that Defendant was a famous entertainer who employed many people over the years. Defendant

 was unquestionably the boss of his employees, but the government falls far short of establishing

 that he was a leader of criminal activity. Indeed, the government did not even attempt to prove

 criminal activity of the organization or other employees of the organization. A four-level

 enhancement is simply not warranted here.
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 O.     Minor In Custody, Care, Supervisory Control of the Defendant

        Brazenly, the government seeks to enhance Defendant’s guidelines range under a theory

 that Jane’s parents entrusted Defendant to her supervision when she was a minor “purportedly to

 assist her with her musical career” after which Jane lived with the defendant. The record shows

 that Jane’s parents directed Jane to lie to Defendant about her age and then encouraged her to

 seduce him in April 2015 when she was 17 years old. The real-time text messages between Jane

 and her mother reveal that Jane’s mother wanted Defendant to promote Jane’s music career by

 commencing a romantic relationship with him. Again, the government seeks to sanitize the facts

 of this case which show that after Jane met Defendant for the first time, she immediately began

 traveling with Defendant and never returned home. Nothing in the record suggests that Jane’s

 parents objected to this relationship. The evidence shows quite the opposite. Indeed, Jane’s

 mother jokingly told her daughter weeks after Jane met Defendant that her son-in-law was going

 to be older than her. Jane’s mother certainly knew Jane’s age even if the Defendant did not.

        The record does not show that Jane’s parents “entrusted” Defendant with Jane’s care, as

 much as, Jane was adamant that she wanted to live with Defendant in Chicago and Jane’s parents

 were eager to support her relationship with the Defendant, presumably because they hoped

 financial riches would flow to them. It was Defendant who sent Jane home after Jane disclosed

 that she was 17 years old. Regardless, Jane was not a minor in the state of Illinois at the age of

 17 when she returned to Chicago shortly before her 18th birthday as the government contends.

 As such, an enhancement under this theory cannot apply.
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 P.        Adjusted Offense Level:

           The following chart summarizes Defendant’s position regarding the offense level for

 each grouped count. Defendant contends that racketeering acts five, six, and seven should be

 grouped pursuant to U.S.S.G. §3D1.2(a), as should racketeering acts nine and ten. Probation

 agrees.

  Racketeering Act One                                                12

  Racketeering Act Two                                                32

  Racketeering Acts Five, Six, and Seven                              32

  Racketeering Act Eight                                              13

  Racketeering Acts Nine and Ten (Counts Two, Three, Four,            32
  and Five)
  Racketeering Act Eleven                                             22

  Racketeering Act Twelve (Counts Six and Seven)                      14

  Racketeering Act Thirteen                                           22

  Racketeering Act Fourteen (Counts Eight and Nine)                   14


           Defendant contends that the combined offense level is 35. The offense level applicable to

 the group with the highest offense level is 32. Pursuant to U.S.S.G § 3D1.4, the number of Units

 that the remaining Groups represent. the offense level should be increased by 3 levels (three

 units) for a total 35. Because Defendant’s criminal history score is one, the guidelines range

 properly calculated is 168-210 months.
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                                       CONCLUSION

        For the foregoing reasons, Defendant’s sentencing range is 168-210 months. As will be

 set forth in Defendant’s supplemental sentencing memorandum, Defendant should be sentenced

 to a below guidelines sentence.



                                                           Respectfully Submitted,



                                                           /s/JENNIFER BONJEAN

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                               CERTIFICATE OF SERVCE

       I, JENNIFER BONJEAN, an attorney at law, certify that I filed Defendant’s Preliminary

 Sentencing Memorandum via ECF on May 27, 2022.

                                                         /s/JENNIFER BONJEAN
